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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP

                v.                                    CONSOLIDATED LEAD CASE

  NVIDIA CORPORATION, et al.,

                       Defendants.


                                    ORDER OF DISMISSAL

        Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant Sony

 Computer Entertainment America LLC’s (“Defendant”) (collectively, the “Parties”), Joint Motion
 .
 for Dismissal.

        The Court, having considered the Parties’ Motion, finds that the Motion should be

 GRANTED.

        IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action

 against Defendant are dismissed WITH prejudice, and Defendant’s counterclaims are dismissed

 WITHOUT prejudice.

        IT IS FURTHER ORDERED that each party shall bear its own costs, expenses, and all

 attorneys’ fees.
         SIGNED this 3rd day of January, 2012.
        SIGNED this 29th day of December, 2015.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
